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          Dated: August 6th, 2019                               JOHN T. DORSEY
         Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE
